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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                            4:14-CR-3015

vs.
                                                 TENTATIVE FINDINGS
ISYS JORDAN,

                 Defendant.

      The Court has received the revised presentence investigation report
and addendum in this case. There are no motions for departure or variance.
The defendant has filed a sentencing statement (filing 205) in which she
reasserts several objections to the presentence report.

      IT IS ORDERED:

1.    The Court will consult and follow the Federal Sentencing Guidelines to
      the extent permitted and required by United States v. Booker, 543 U.S.
      220 (2005), and subsequent cases. In this regard, the Court gives notice
      that, unless otherwise ordered, it will:

      (a)   give the advisory Guidelines respectful consideration within the
            context of each individual case and will filter the Guidelines'
            advice through the 18 U.S.C. § 3553(a) factors, but will not afford
            the Guidelines any particular or "substantial" weight;

      (b)   resolve all factual disputes relevant to sentencing by the greater
            weight of the evidence and without the aid of a jury;

      (c)   impose upon the United States the burden of proof on all
            Guidelines enhancements;

      (d)   impose upon the defendant the burden of proof on all Guidelines
            mitigators;

      (e)   depart from the advisory Guidelines, if appropriate, using pre-
            Booker departure theory; and
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     (f)   in cases where a departure using pre-Booker departure theory is
           not warranted, deviate or vary from the Guidelines when there is
           a principled reason justifying a sentence different than that
           called for by application of the advisory Guidelines, again without
           affording the Guidelines any particular or "substantial" weight.

2.   There are no motions that require resolution at sentencing. The
     defendant's sentencing statement (filing 205) sets forth three specific
     objections to the presentence report:

     (a)   The defendant objects to the two-level enhancement for a
           vulnerable victim pursuant to U.S.S.G. § 3A1.1(b)(1). That two-
           level enhancement applies "[i]f the defendant knew or should
           have known that a victim of the offense was a vulnerable victim,"
           who is defined as a victim of the offense of conviction "who is
           unusually vulnerable due to age, physical or mental condition, or
           who is otherwise particularly susceptible to the criminal
           conduct." Id., cmt. n.2.

           There is little dispute that the victims in this case were
           vulnerable within the meaning of § 3A1.1(b)(1), and the
           defendant concedes that point. Filing 205 at 2; see generally
           United States v. Whitlow, 124 F.3d 218 (10th Cir. 1997)
           (unpublished table decision). But the defendant argues that she
           was "in all respects, kept in the dark about the nature of the
           conspiracy as well as the condition of the targets of the fraud."
           Filing 205 at 1-2. And when the defendant objects, it is the
           government's burden to prove the applicability of an
           enhancement by a preponderance of the evidence. See, United
           States v. Mustafa, 695 F.3d 860, 862 (8th Cir. 2012); United
           States v. Twiggs, 678 F.3d 671, 674 (8th Cir. 2012); United States
           v. Myers, 481 F.3d 1107, 1109-10 (8th Cir. 2007). The Court will,
           therefore, resolve this issue at sentencing.

     (b)   The presentence report recommends that the defendant receive a
           two-level downward adjustment pursuant to U.S.S.G. § 3B1.2(b)
           based on her minor role in the offense; the defendant argues that
           she should receive a four-level downward adjustment as a
           minimal participant within the meaning of U.S.S.G. § 3B1.2(a).
           Filing 205 at 2-3. To qualify for such an adjustment, the
           defendant must be "plainly among the least culpable of those
           involved in the conduct of a group." Id., cmt. n.4. "[T]he

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           defendant's lack of knowledge or understanding of the scope and
           structure of the enterprise and of the activities of others is
           indicative of a role as minimal participant." Id. Minimal
           participants are those with "insignificant" involvement in the
           criminal activity. United States v. Goodman, 509 F.3d 872, 875
           (8th Cir. 2007).

           In determining whether a defendant qualifies as a minimal
           participant, a court should look at the defendant's relevant
           conduct, compare the acts of the defendant to the acts of the other
           participants, and consider the acts of the defendant as they relate
           to the elements of the offense. Id. at 875-76. And the burden of
           establishing minimal-participant status rests with the defendant.
           Id. at 875. The Court will also resolve this issue at sentencing.

     (c)   Finally, the defendant argues that instead of being held
           responsible for the entire amount of restitution attributable to
           the scheme, she should be held responsible for only $3,571: the
           amount she says was "directly attributable to her actions." Filing
           205 at 3. The Mandatory Victims Restitution Act, 18 U.S.C. §
           3663 et seq., requires defendants convicted of an offense "in which
           an identifiable victim or victims has suffered a . . . pecuniary
           loss" to make restitution to the victims of the offense in the full
           amount of each victim's loss. 18 U.S.C. §§ 3663A(c)(1)(B) and
           3664(f)(1)(A). But when the Court finds that more than one
           defendant has contributed to the loss of a victim, the Court may
           make each defendant liable for payment of the full amount of
           restitution, or may apportion liability among the defendants to
           reflect the level of contribution to the victim's loss and economic
           circumstances of each defendant. § 3664(h). With those principles
           in mind, the Court will determine at sentencing the amount of
           restitution to be ordered.

3.   Except to the extent, if any, that the Court has sustained an objection,
     granted a motion, or reserved an issue for later resolution in the
     preceding paragraph, the parties are notified that the Court's tentative
     findings are that the presentence report is correct in all respects.

4.   If any party wishes to challenge these tentative findings, that party
     shall, as soon as possible (but in any event no later than three (3)
     business days before sentencing) file with the Court and serve upon
     opposing counsel an objection challenging these tentative findings,


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     supported by a brief as to the law and such evidentiary materials as are
     required, giving due regard to the local rules of practice governing the
     submission of evidentiary materials. If an evidentiary hearing is
     requested, such filings should include a statement describing why a
     hearing is necessary and how long such a hearing would take.

5.   Absent timely submission of the information required by the preceding
     paragraph, the Court's tentative findings may become final and the
     presentence report may be relied upon by the Court without more.

6.   Unless otherwise ordered, any objection challenging these tentative
     findings shall be resolved at sentencing.

     Dated this 6th day of October, 2014.


                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




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